
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2317

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   YVES LEREBOURS,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                    [Hon. Paul J. Barbadoro, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                          Cummings* and Cyr, Circuit Judges.
                                             ______________

                                _____________________

               Bjorn  Lange, Assistant  Federal  Public  Defender,  Federal
               ____________
          Defender Office, for appellant.
               Jean B.  Weld, Assistant  United States Attorney,  with whom
               _____________
          Paul M.  Gagnon,  United  States   Attorney,  was  on  brief  for
          _______________
          appellee.



                                 ____________________

                                    June 25, 1996
                                 ____________________



                              
          ____________________

          *  Of the Seventh Circuit, sitting by designation.














                    CUMMINGS, Circuit Judge.   Defendant Yves Lerebours was
                    CUMMINGS, Circuit Judge.
                              _____________

          convicted  for various  drug-related offenses.   He  raises three

          issues  in this  appeal:   whether  the  district court  properly

          refused  to dismiss based upon a Commerce Clause challenge to the

          criminal statute; whether the  district court properly refused to

          enter  a judgment  of  acquittal for  insufficient evidence;  and

          whether  the  defendant's  sentence  was  appropriate  under  the

          Sentencing   Guidelines.     We  affirm   the  district   court's

          conclusions.

                    In 1994  and 1995 the police  department of Manchester,

          New Hampshire, investigated  the sale of crack  cocaine and other

          narcotics in that city.  During September 1994 the police focused

          on drug activities at  309 Cedar Street in  Manchester.  In  that

          month a police  department detective  knocked at the  door of  an

          apartment on the third  floor of that address.   A woman directed

          him to the  driveway at the  rear of 315  Cedar Street.  At  that

          place he  spoke to a  Hispanic male whom  he later  identified as

          defendant  and said "I want  three."  Defendant  then entered the

          rear door and  several minutes later  handed three small  plastic

          baggies to a juvenile  who asked the detective to  accompany him.

          The detective purchased  three baggies from the boy for $60.  The

          contents consisted of .39 grams of crack cocaine.

                    On  September 19  the  same detective  returned to  309

          Cedar  Street.  Defendant was  inside an apartment  there and the

          detective again asked for "three."   The defendant instructed him

          to  wait downstairs in the alley where the detective bought three


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          baggies  from defendant for $60.  The contents again consisted of

          .39  grams of crack cocaine.   Defendant told  the detective that

          the next time  he came for "crack," he should  go to the driveway

          in back of  315 Cedar Street,  ask for Tony,  and say that  Oshee

          sent him.  Defendant later testified that his nickname was Yoshi.

          In  January 1995  the same  detective identified a  photograph of

          defendant  as  the individual  selling him  crack cocaine  in the

          prior  September.   He also  identified defendant  in court.   He

          testified that he was trained to remember faces of suspects.

                    In  March  1995  another  detective of  the  Manchester

          police  department  was investigating  drug  sales  at 249  Cedar

          Street in Manchester.   On March 7 this detective  purchased five

          rocks of crack cocaine  for $100 from Henry Favreau at 290 Auburn

          Street.   On the  following day  Favreau took  him to  290 Auburn

          Street where the detective  was told "they were in  there cutting

          it up," and the detective then made a second purchase.   On March

          14 he made his third  purchase of five rocks from Favreau  at 290

          Auburn Street.

                    On March 15, after  obtaining a search warrant, several

          police officers  executed a search at 290  Auburn Street.  One of

          the  detectives sketched the apartment for  his police report and

          identified the rooms searched as including a kitchen, a northwest

          bedroom  and  a  northeast  bedroom.    A  brown  vinyl  box  was

          discovered above  the ceiling tiles in the kitchen that contained

          baggies, tissue, a cup,  a 13-inch-long Ginsu knife,  a six-inch-

          long  test tube, and scissors.  The knife, scissors and test tube


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          contained  cocaine residue.    One of  the detectives  identified

          defendant as being present at 290 Auburn Street when the officers

          arrived to execute the search warrant.

                    Still  another  detective,  accompanied  by  his  drug-

          detection  dog, searched the northwest bedroom.  The dog began to

          bite and  scratch on one of  the two mattresses.   On lifting the

          mattress, the detective observed a number  of rocks consisting of

          1.88 grams  of  crack  cocaine.    During  the  search  defendant

          informed a police sergeant that  the northwest bedroom was shared

          by him and his girlfriend.

                    In  April  1995  defendant  was  indicted for  offenses

          involving  cocaine and cocaine base.   The indictment  was in six

          counts.   The first count charged a conspiracy to distribute such

          drugs  in 1994 and 1995 in violation  of 21 U.S.C.   846.  Counts

          two and  four charged their  distribution in September  1994, and

          counts  three, five and six  charged possession of  such drugs in

          September 1994 and March  1995.  Finally, counts two  through six

          alleged  violations of 21 U.S.C.   841(a)(1) providing that it is

          unlawful  "to manufacture,  distribute,  or dispense,  or possess

          with intent to manufacture, distribute, or dispense, a controlled

          substance."    Counts  three  and  five  were  dismissed  by  the

          government.

                    After  the  government  presented  its  case, defendant

          sought  acquittal  on  all counts  pursuant  to  Federal  Rule of

          Criminal Procedure 29.  He also asked that  the case be dismissed

          based upon  United States v. L pez,  __ U.S. __, 115  S. Ct. 1624
                      _____________    _____


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          (1995).   The district judge commented that he would be surprised

          "if the federal drug  laws could ever be brought within the scope

          of those  category of laws  that cannot withstand  scrutiny under

          the commerce clause test."  Before denying dismissal, he added:

                      Cocaine trafficking is a  huge interstate
                      economic enterprise.  Congress could well
                      decide  to  regulate  that enterprise  by
                      prohibiting  the distribution  of cocaine
                      or  the possession of cocaine with intent
                      to  distribute.    The crime  necessarily
                      implicates    interstate   and    foreign
                      commerce   since    cocaine   cannot   be
                      manufactured and sold  solely within  any
                      one  state's  boundaries.    So  for that
                      reason  I'm  going  to  deny  your  L pez
                                                          _____
                      motion.

                    Elizabeth Rivera, defendant's  fianc e, and her  mother

          Margarita then offered alibi  testimony, obviously disbelieved by

          the jury, concerning events  on September 16, 1994, and  in March

          1995.   Defendant again moved for acquittal  under Rule 29 of the

          Federal  Rules  of Criminal  Procedure  and  for dismissal  under

          United States v. L pez, but both motions  were denied.  After the
          _____________    _____

          three-day jury trial defendant was found guilty on counts one and

          four and not guilty on counts two and six.

                    Both  sides  filed  sentencing  memoranda.    Defendant

          requested that he be  held accountable for only the  .39 grams of

          cocaine base  that was the subject  of count four.   Since he was

          acquitted under counts two and six, he argued that  he should not

          be held accountable  for the drugs  distributed on September  16,

          1994,  and March  15, 1995.   In  turn, the  government requested

          accountability for a total drug quantity of 4.15 grams of cocaine

          base.     Based  upon   that  amount,  the   revised  presentence

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          investigation report  computed a  base  offense level  of 24  for

          defendant.

                    The district judge  decided that the following  amounts

          were attributable to defendant:  .37 grams on September 16, 1994;

          .39 grams  on September  19, 1994;  and 1.88  grams on  March 15,

          1995, or a total of 2.64  grams.  The judge explained his rulings

          as follows:

                      . . . just because the jury found him not
                      guilty,  [sic]  that March  event doesn't
                      mean that  I have  to find that  he [sic]
                      hasn't established by a  preponderance of
                      the  evidence that  that cocaine  is his.
                      . . .

                      I have no difficulty  in finding that the
                      .37 [sic] grams on 9/16, the .39 grams on
                      9/19   that  was   the  subject   of  the
                      conviction, and the .188 [sic] grams that
                      was the subject of the acquittal in March
                      are all part of the same conspiracy; that
                      the   defendant   did   engage   in   the
                      transactions on  9/16 and 9/19,  and that
                      the   crack   cocaine  found   under  the
                      defendant's bed was  his cocaine and  was
                      possessed  by  him  with  the  intent  to
                      distribute as part of the same conspiracy
                      that led to the conspiracy conviction and
                      the conviction for the 9/19 sale.

                      With respect to  the 9/16 transaction,  I
                      found  the  officer's  testimony   to  be
                      persuasive   and    convincing,   and   I
                      personally  have no  doubt about  in fact
                      that that was the defendant who made that
                      sale.

                      And with respect to the 1.88 grams  found
                      on  March 15,  I  have  no difficulty  in
                      finding   by   a  preponderance   of  the
                      evidence    that    that    cocaine    is
                      attributable to the defendant and that it
                      is related to the count of conviction.  I
                      just  find   completely  implausible  the
                      speculation that someone  else, like  Mr.


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                      Luna, would  come in and put  the cocaine
                      where it was found.

                      So for  those reasons I am  going to find
                      attributable to the  defendant .37  grams
                      on  9/16,  .39  grams on  9/19,  and 1.88
                      grams on 3/15.

          Defendant  was sentenced  to  57 months'  imprisonment and  three

          years of supervised release.

               Denial of Motion to Dismiss Under United States v. L pez
               Denial of Motion to Dismiss Under United States v. L pez
                                                 _____________    _____

                    As the  Seventh Circuit  explained in United  States v.
                                                          ______________

          Bell,  70  F.3d 495,  497 (7th  Cir.  1995), L pez  challenges to
          ____                                         _____

          various   statutes   have  almost   invariably  failed.1     More

          importantly, three courts of  appeals have already rejected L pez
                                                                      _____

          constitutional attacks on the Comprehensive Drug Abuse Prevention

          and Control Act of 1970, 21 U.S.C.   801 et seq.   Thus in United
                                                   _______           ______

          States v. Leshuk, 65 F.3d  1105 (4th Cir. 1995), the court  noted
          ______    ______

          that  L pez  reaffirmed  the  principle  that  "where  a  general
                _____

          regulatory  statute  [like  the  one here]  bears  a  substantial

          relation  to commerce,  the  de minimis  character of  individual

          instances  arising under that statute is of no consequence."  Id.
                                                                        ___

          at 1112.   In United States v. Brown, 72 F.3d 96 (8th Cir. 1995),
                        _____________    _____

          in upholding a  conviction for use  of a firearm  during a  drug-

          trafficking  offense, the court relied on  Leshuk for rejecting a
                                                     ______

          L pez  Commerce  Clause  challenge  and noted  that  the  statute
          _____



                              
          ____________________

          1  See,  e.g., United States  v. Kirk, 70  F.3d 791, 794-95  (5th
             ___   ____  _____________     ____
          Cir. 1995), reh'g  en banc granted,  78 F.3d 160 (Mar.  5, 1996);
                      ______________________
          United  States v.  Bishop, 66  F.3d 569,  575-89 (3d  Cir. 1995),
          ______________     ______
          cert. denied, __ U.S. __, 116 S. Ct. 681 (1995).
          ____________

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          involved here had been found constitutional.  Id. at 97.   Accord
                                                        ___          ______

          United States v. Wacker, 72 F.3d 1453, 1475 (10th Cir. 1995).
          _____________    ______

                    Finally, defendant argues that  this case amounts to an

          abridgment  of the  reservation of  police powers  to  the states

          under  the Tenth  Amendment.   Such an  argument was  rejected in

          United  States  v. Owens,  996 F.2d  59,  60-61 (5th  Cir. 1993),
          ______________     _____

          because courts will  not strike  down a statute  under the  Tenth

          Amendment where Congress was within its powers under the Commerce

          Clause  to enact the statute.   As we  have already acknowledged,

          Congress had  authority under the Commerce  Clause to criminalize

          the conduct under the statutes involved here.

                             Sufficiency of the Evidence
                             Sufficiency of the Evidence

                    Defendant contends that  he should have  been acquitted

          on counts one and four because of  insufficient evidence, stating

          that the affidavit for  the search warrant for 290  Auburn Street

          on  March 15,  1995,  did   not  mention  him  and   because  the

          detective's identification  of defendant as the  person from whom

          he   purchased  crack   cocaine  on   September  19,   1994,  was

          uncorroborated.

                    As to  count one, it  is immaterial that  the affidavit

          for  the March  15, 1995  search  at 290  Auburn  Street did  not

          mention defendant because detective Boles identified him as being

          present when the officers arrived  to execute the search  warrant

          and  defendant informed one of the police officers that he shared

          the northwest bedroom in  that apartment where a number  of rocks

          of crack cocaine were found.


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                    Count  four, covering  the distribution  of cocaine  on

          September 19,  was supported by  a detective's testimony  that he

          requested  three  rocks  of   cocaine  and  purchased  them  from

          defendant on September 19, 1994, in the alley outside defendant's

          apartment.   Likewise, count one  related to the  events of March

          15, 1995.  There was adequate evidence to support the convictions

          on counts  one and four.  Thus the district court properly denied

          defendant's Rule 29 motions.

                                      Sentencing
                                      Sentencing

                    It  is  immaterial that  defendant  was  assessed crack

          quantities  underlying  counts two  and  six,  for which  he  was

          acquitted, because they were included in conspiracy count one, on

          which he was convicted.  We so ruled in United  States v. Ovalle-
                                                  ______________    _______

          M rquez,  36 F.3d 212, 222-24  (1st Cir. 1994),  cert. denied, __
          _______                                          ____________

          U.S. __, 115 S.  Ct. 1322 (1995), and United  States v. Mocciola,
                                                ______________    ________

          891 F.2d 13, 16-17 (1st Cir. 1989).

                    Here defendant was convicted of  conspiracy with others

          to distribute and possess  with the intent to distribute  a total

          of 2.66  grams of crack cocaine, as alleged in count one.  As the

          district judge  found, the  drugs involved  in the  September 16,

          1994,  and March  15, 1995,  incidents were  parts of  the scheme

          underlying  the conspiracy count.   The judge also  found all the

          cocaine was part of the same conspiracy charged in count one,  so

          that it was  proper for  him to aggregate  them to determine  the

          base offense level.  Ovalle-M rquez, 36 F.3d at 222-224; U.S.S.G.
                               ______________

            1B1.3(a)(1)(B).


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                    For  the foregoing reasons, defendant's convictions and

          sentence are affirmed.
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